              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE
                         NASHVILLE DIVISION


 IN RE:                                              CASE NO.: 3:16-BK-03304

 CHARLES E. WALKER,                                        CHAPTER 11
                               DEBTOR
                                                       JUDGE MASHBURN



                                                    Adv. Proc. No. 3:19-ap-90103
 DEBRA A. IRVIN,
                            PLAINTIFF,

 v.

 GREEN WISE HOMES, LLC,
 CHARLES E. WALKER, JON PAUL
 JOHNSON, JULIE COONE, JAMES
 BRETT, and NATIONWIDE
 INVESTMENTS LLC,
                 DEFENDANTS.


    DEFENDANT NATIONWIDE INVESTMENTS LLC’S MOTION TO
 DISMISS PURSUANT TO RULE 7012 OF THE FEDERAL BANKRUPTCY
    RULES AND RULE 12(B)(6) OF THE FEDERAL RULES OF CIVIL
                         PROCEDURE


                                       *****

       COMES NOW, Nationwide Investments, LLC, Defendant, by and through

counsel, and moves this Court, pursuant to Federal Bankruptcy Rule 7012 and the

Federal Rules of Civil Procedure, Rule 12(B)(6), to Dismiss the Defendant from the

above caption case for failure to state a claim for which relief can be granted for the

following reasons:

                                      Page 1 of 4

Case 3:19-ap-90103    Doc 3    Filed 05/14/19 Entered 05/14/19 15:10:16     Desc Main
                               Document      Page 1 of 4
      1.     The Complaint filed seeks relief against the Defendant in the amount of

$825,000, a prejudgment attachment, attorney fees, and other remedies not listed

that may be “equitable and proper.”


      2.     The Complaint fails to state a single cause of action against the

Defendant. The Plaintiff lists the following in the Complaint: Count 1: Fraud; Count

II: Liability Pursuant to Tennessee Code § 66-22-113; Count III: Unjust Enrichment;

Count IV: Civil Conspiracy; Count V: Fraudulent Transfer of Assets. However, the

Complaint is devoid of any allegations against the Defendant that would entitle the

Plaintiff to any recovery against the Defendant.


      3.     Despite the Complaint’s facial deficiencies, any potential claim or claim

is barred by the Statute of Limitations in Tennessee Code Annotated § 28-3-105

which would have expired, at the latest, on November 24, 2017.          Exhibit 5 to

Plaintiff’s Complaint is the Deed to 1125 Sunnymeade Drive, Nashville, TN, 37216,

which was recorded on November 24, 2014, in the Davidson County Register of Deeds.

Notice is given to all the world when the instrument in recorded in the Register of

Deeds Office. Haiser v. McClung, No. E2017-00741-COA-R3-CV, 2018 Tenn. App.

LEXIS 509, at *21 (Ct. App. Aug. 29, 2018).


      4.     A motion to dismiss for failure to state a claim may properly raise the

expiration of the statute of limitations. Davis v. Grange Mut. Cas. Grp., No. M2016-

02239-COA-R3-CV, 2017 Tenn. App. LEXIS 646, at *5 (Ct. App. Sep. 28, 2017); “A

defendant may raise a statute of limitations defense in the context of a Rule 12(b)(6)

motion to dismiss.” Reid v. Baker, 499 F. App'x 520, 524 (6th Cir. 2012).

                                      Page 2 of 4

Case 3:19-ap-90103    Doc 3   Filed 05/14/19 Entered 05/14/19 15:10:16      Desc Main
                              Document      Page 2 of 4
      5.    Nationwide Investments does consent to the entry of final orders or

judgment by the bankruptcy court.


      Date: May 14, 2019



                                     Respectfully submitted,



                                     s/Charles E. Walker                     -
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                                    Page 3 of 4

Case 3:19-ap-90103   Doc 3   Filed 05/14/19 Entered 05/14/19 15:10:16   Desc Main
                             Document      Page 3 of 4
                           CERTIFICATE OF SERVICE:

        I hereby certify that on May 14, 2019, I served the following parties by U.S.

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                                       Page 4 of 4

Case 3:19-ap-90103     Doc 3   Filed 05/14/19 Entered 05/14/19 15:10:16   Desc Main
                               Document      Page 4 of 4
